   Case 18-17303-amc            Doc 162 Filed 02/03/23 Entered 02/03/23 15:55:07                      Desc Close
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                                     UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re:                                                                              Chapter: 13
           Lynnelle R. Marche
Debtor(s)                                                                           Case No: 18−17303−amc
_____________________________________________________________________________________________
                                                       ORDER

          AND NOW, it appearing that the debtor(s) must file either a statement regarding completion of a course
in personal financial management, see 11 U.S.C. §1328(g)(1), or a request for a waiver from this requirement, see
11 U.S.C. §109(h)(4),

           AND it Further appearing that the debtor(s) must file a certification regarding domestic support
obligations and §522(q) see 11 U.S.C. 1328(a),

           AND, Notice was given to the debtor(s) that this case would be closed without the entry of a discharge
order unless the Debtor(s), by a date certain, filed the statement regarding completion of a course in personal
financial management, and/or the certification regarding domestic support obligations and §522(q),

            AND, the Debtor(s) has/have not filed the required statement and/or certifications,

          AND, it appearing that the trustee in the above entitled matter has filed his report and that the trustee has
performed all other duties required in the administration of the Debtor(s)'; estate,

           IT IS HEREBY ORDERED that the trustee be discharged and relieved of any trust; and this case be and
the same hereby is CLOSED, without the entry of an order of discharge.




                                                                                For The Court

                                                                                Ashely M. Chan
  2/3/23
                                                                                Judge ,United States Bankruptcy
                                                                                Court



                                                                                                                       162
                                                                                                                  Form 225
